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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA



 RONALD OSTROW,

 Plaintiff,


 vs.                                             Case No.:
 NATIONAL ASSET RECOVERY
 SERVICES, INC.,

 Defendant.
 _______________________________/


                                            COMPLAINT


         1.    Plaintiff alleges a violation of the Fair Debt Collection Practices Act, 15 U.S.C.

 1692 et seq. (“FDCPA”), and the Florida Consumer Collection Practices Act, Fla. Stat. 559.55

 et seq. (“FCCPA”).

                                            JURISDICTION

         2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 1337, 1367, and pursuant

 to 15 U.S.C. § 1692 et seq. (“FDCPA”), and pursuant to the Florida Consumer Collection

 Practices Act, Fla. Stat. 559.55 et seq.

         3.     This action arises out of Defendant’s violation of the Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), the FCCPA, and out of the invasion of

 Plaintiff’s personal and financial privacy by this Defendant and its agent in its illegal effort to

 collect a consumer debt from Plaintiff.




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         4.      Venue is proper in this District because the act and transaction occurred here,

 Plaintiff resides here, and Defendant transacts business here.

                                                 PARTIES

         5.      Plaintiff, RONALD OSTROW, is a natural person who resides in the City of

 Oakland Park, County of Broward, State of Florida, and is a “consumer” as that term is defined

 by 15 U.S.C. § 1692a(3).

         6.      Defendant NATIONAL ASSET RECOVERY SERVICES, INC., (hereinafter

 “Defendant National”) is a collection agency operating from an address of 16253 Swingley

 Ridge, Suite 300, Chesterfield, MO 63017, and is a “debt collector” as that term is defined by 15

 U.S.C. § 1692a(6).

         7.      Defendant National regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

         8.      Defendant National regularly collects or attempts to collect debts for other parties.

         9.      Defendant National is a “debt collector” as defined in the FDCPA.

         10.     Defendant National was acting as a debt collector with respect to the collection of

 Plaintiff’s alleged debt.



                                    FACTUAL ALLEGATIONS

         11.     Plaintiff incurred a financial obligation that was primarily for personal, family or

 household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

         12.     Sometime thereafter, the debt was consigned, placed or otherwise transferred to

 Defendant for collection from this Plaintiff.




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        13.     Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

                                        COLLECTION CALL

        14.     In or about July, 2010, Defendant National’s collector contacted Plaintiff by

 telephone in an effort to collect this debt, which was a “communication” in an attempt to collect

 a debt as that term is defined by 15 U.S.C. § 1692a(2).

        15.     During this July, 2010 call, Defendant left a voice mail on Plaintiff’s answering

 machine, identifying himself as a debt collector.

                                             SUMMARY

        16.     The above-described collection communication made to Plaintiff by Defendant

 National, and a collection employee employed by Defendant National, was made in violation of

 multiple provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692b(3), 1692d(5),

 and 1692f.

        17.     The above-detailed conduct by this Defendant of harassing Plaintiff in an effort to

 collect this debt was a violation of multiple provisions of the FDCPA, including but not limited

 to all of the above mentioned provisions of the FDCPA, as well as an invasion of Plaintiff’s

 privacy by an intrusion upon seclusion and by revelation of private financial facts.

        18.     Defendant’s disclosure of Plaintiff’s indebtedness to third parties was an invasion

 of his privacy and his right to financial privacy.



                                          TRIAL BY JURY

        19.     Plaintiff is entitled to and hereby respectfully demand a trial by jury on all issues

 so triable. US Const. amend. 7. Fed.R.Civ.P. 38.



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                                           CAUSES OF ACTION

                                                  COUNT 1

                 VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                   15 U.S.C. § 1692 et seq.


           20.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint

 as though fully stated herein.

           21.      The foregoing act and omission of the Defendant and its agent constitutes

 multiple violations of the FDCPA including, but not limited to, each and every one of the above-

 cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with respect to this Plaintiff.

           22.      As a result of the Defendant’s violation of the FDCPA, Plaintiff is entitled to

 statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

 reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

 herein.

                                                  COUNT 2

             INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY
              REVELATION OF PRIVATE FINANCIAL FACTS TO THIRD PARTY

           23.      Plaintiff incorporates by reference all of the paragraphs of this Complaint as

 though fully stated herein.

           24.      Congress explicitly recognized a consumer’s inherent right to privacy in

 collection matters in passing the Fair Debt Collection Practices Act, when it stated as part of its

 findings:

                 Abusive debt collection practices contribute to the number of personal
                 bankruptcies, to marital instability, to the loss of jobs, and to invasions of
                 individual privacy. 15 U.S.C. § 1692(a) (emphasis added).



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         25.     Congress further recognized a consumer’s right to privacy in financial data in

 passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for

 a broad range of “financial institutions” including debt collectors albeit without a private right of

 action, when it stated as part of its purposes:


               It is the policy of the Congress that each financial institution has an
               affirmative and continuing obligation to respect the privacy of its
               customers and to protect the security and confidentiality of those
               customers’ nonpublic personal information. 15 U.S.C. § 6801(a)
               (emphasis added).

         26.     Defendant and/or its agent intentionally and/or negligently interfered, physically

 or otherwise, with the solitude, seclusion and or private concerns or affairs of this Plaintiff,

 namely, by unlawfully attempting to collect a debt and thereby invaded the Plaintiff’s privacy.

         27.     Defendant also intentionally and/or negligently interfered, physically or

 otherwise, with the solitude, seclusion and or private concerns or affairs of the Plaintiff, namely,

 by unlawfully disclosing information about this debt to third parties, and thereby invaded

 Plaintiff’s right to financial privacy.

         28.     Defendant disclosed Plaintiff’s alleged indebtedness to third parties. Defendant

 knew or had reason to know that the third parties did not have a legitimate need for the

 information.

         29.     The Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude,

 seclusion, private concerns or affairs, and private financial information.

         30.     The conduct of this Defendant and its agent, in engaging in the above-described

 illegal collection conduct against this Plaintiff, resulted in an intrusion and invasion of privacy

 by this Defendant which occurred in a way that would be highly offensive to a reasonable person

 in that position.

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                                             COUNT 3

  VIOLATION OF 559.72 (5) OF THE FLORIDA CONSUMER COLLECTION PRACTICES
                                     ACT

        31.     Defendant disclosed Plaintiff’s alleged indebtedness to third parties. Defendant

 knew or had reason to know that the third parties did not have a legitimate need for the

 information.

        32.     As a result of Defendant’s improper disclosure to third parties, Plaintiff’s

 reputation was affected.

        WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

 Plaintiff and against Defendant for:


 A)   Damages and

 B)    Attorneys’ fees and costs.


                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that judgment be entered against the Defendant.


 Dated: July 26, 2010                          Respectfully submitted,


                                               /s Andrew I. Glenn________________________
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